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                                  CAUSE NO. 18-11148-158

 KURTIS MAPLES AND KRESTYNA                               §            IN THE DISTRICT COURT
 MAPLES,                                                  §
                                                          §
        Plaintiffs,                                       §
                                                          §
 vs.                                                      §            158th JUDICIAL DISTRICT
                                                          §
 BARRETT DAFFIN FRAPPIER TURNER &                         §
 ENGEL, LLP IN REM ONLY,                                  §
 CARRINGTON MORTGAGE SERVICES,                            §
 LLC and BANK OF AMERICA, N.A.                            §
                                                          §
        Defendants.                                       §           DENTON COUNTY, TEXAS

        DEFENDANTS’ ORIGINAL ANSWER AND AFFIRMATIVE DEFENSES

       Defendants Carrington Mortgage Services, LLC and Bank of America, N.A.

(“Defendants”) files their Original Answer and Affirmative Defenses to Plaintiffs’ Suit for

Declaratory Judgment and Application for Temporary Restraining Order and Temporary

Injunction (the “Petition”) of Plaintiffs Kurtis Maples and Krestyna Maples (“Plaintiffs”).

                                        GENERAL DENIAL

       1.        Defendants, pursuant to Rule 92 of the Texas Rules of Civil Procedure, generally

deny all of the claims as alleged by Plaintiffs, and respectfully pray that Plaintiffs be required to

prove their claims as alleged by a preponderance of the evidence or such higher standard as may

be applicable.

                                   AFFIRMATIVE DEFENSES

       2.        Some or all of Plaintiffs’ claims are barred by failure of consideration.

       3.        Plaintiffs’ claims are barred, in whole or in part, because Defendants’ conduct was

not the producing, nor the proximate, cause of Plaintiffs’ alleged losses, damages, and/or injuries.

       4.        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs are unable to

prove their alleged losses, damages, and/or injuries in accordance with Texas law.
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        5.      Some or all of Plaintiffs’ claims are barred due to unclean hands.

        6.      Some or all of Plaintiffs’ claims are barred due to the statute of limitations.

        7.      Some or all of Plaintiffs’ claims are barred by the economic-loss doctrine.

        8.      Some or all of Plaintiffs’ claims are barred by their failure to perform their own

contractual obligations.

        9.      Plaintiffs are not entitled to their attorneys’ fees.

        10.     Plaintiffs’ claims fail due to the doctrines of estoppel and/or quasi estoppel.

        11.     Defendants are entitled to an offset of any damages awarded under the doctrine of

recoupment and offset.

        12.     Plaintiffs have failed to state a claim upon which relief may be granted.

        13.     Defendants are equitably and contractually subrogated as to all of the claims

contained in Plaintiffs’ suit.

        WHEREFORE, Defendants pray that this Court enter judgment that Plaintiffs take

nothing on their alleged claims, that Plaintiffs’ claims be dismissed in their entirety and for such

other and further relief, both specific and general, at law and equity, to which Defendants may be

entitled.

                                                Respectfully submitted,

                                                 By: /s/ Matt D. Manning
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                                                ATTORNEYS FOR DEFENDANTS
                                                CARRINGTON MORTGAGE SERVICES,
                                                LLC & BANK OF AMERICA, N.A.


                               CERTIFICATE OF SERVICE

        I hereby certify that on December 17, 2018, a copy of the above and foregoing was filed
electronically with the Clerk of Court using the Court’s electronic filing system. Notice of this
filing has been forwarded to counsel for Plaintiffs, as shown below.

          Via Email, Facsimile, Court’s ECF E-Filing System and/or Via U.S. Mail
                                      Sharie K. Lamb
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                                   Attorney for Plaintiffs


                                                     /s/ Matt D. Manning
                                                    Matt D. Manning
